                                                             IST1RIofC2
                                                         ES D
          Case 3:24-cv-01393-SI Document 24 Filed 07/01/24
                                                           T
                                                            Page      T              C
                                                         TA




                                                                                       O
                                                    S




                                                                                        U
                                                   ED




                                                                                         RT
                                                                             DERED




                                               UNIT
                                                                O OR
 1 HUNTER PYLE, SBN 191125                              IT IS S




                                                                                             R NIA
   BRADAN LITZINGER, SBN 347813
 2 HUNTER PYLE LAW, PC
                                                                                ston
   505 14th Street, Suite 600                                           usan Ill




                                               NO
 3                                                               Judge S




                                                                                             FO
   Oakland, California 94612




                                                RT
 4 Telephone: (510) 444-4400




                                                                                         LI
                                                        ER




                                                   H
   Facsimile: (510) 444-4410




                                                                                       A
                                                             N                           C
 5 Email(s): hunter@hunterpylelaw.com;                                               F
                                                                 D IS T IC T O
              blitzinger@hunterpylelaw.com                             R
 6

 7 Attorneys for Plaintiff Amanda Summers

 8                             UNITED STATES DISTRICT COURT

 9                NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO
10 AMANDA SUMMERS,                            Case No.: 3:24-cv-01393-SI
11
                 Plaintiff,                   PLAINTIFF’S REQUEST FOR DISMISSAL
12                                            WITH PREJUDICE OF ENTIRE ACTION
          v.                                  PER FRCP 41(a)(1)(A)(ii); STIPULATION
13
   CLOUD ACADEMY, INC.; and DOES 1
14 through 10, inclusive;                     Judge:                       Hon. Susan Illston
15                                            Action Filed:                January 31, 2024
                 Defendants.
16

17

18

19
20

21

22

23

24

25

26

27

28

      REQUEST FOR DISMISSAL WITH PREJUDICE OF ENTIRE ACTION AND RELATED STIPULATION
                                   PER FRCP 41(a)(1)(A)(ii)
            Case 3:24-cv-01393-SI Document 24 Filed 07/01/24 Page 2 of 2




 1          TO THE COURT AND ALL PARTIES OF RECORD:

 2          Pursuant to FRCP 41(a)(1)(A)(ii); plaintiff AMANDA SUMMERS, by and through her

 3 attorneys of record, hereby requests that this Court dismiss this entire action with prejudice, with each

 4 party to bear its own fees and costs.

 5          Defendant CLOUD ACADEMY, INC. (“Defendant”), by and through its attorneys of

 6 record, does not object to Plaintiff’s request to dismiss her case with prejudice, and thus Defendant

 7 hereby stipulates to the same.

 8
     DATED: June 28, 2024                           HUNTER PYLE LAW, PC
 9
10
                                                    By: ___________________________
11                                                      Hunter Pyle
                                                        Bradan Litzinger
12
                                                    Attorneys for Plaintiff Amanda Summers
13

14 DATED: June 28, 2024                             DLA PIPER LLP (US)

15
                                                    By: ___________________________
16                                                      TROY A. VALDEZ
                                                        TOM LIN
17                                                      RUTH YOHANNES
18
                                                    Attorneys for Defendant
19                                                  CLOUD ACADEMY, INC.

20                                                     ***
21                          ATTESTATION OF ELECTRONIC SIGNATURE
22          I, Hunter Pyle, attest pursuant to Northern District Civil Local Rule 5-1(i)(3) that all
23 signatories on this document agree to the filing’s content and have authorized this filing. I declare

24 under penalty of perjury under the laws of the United States of America that the foregoing is true

25 and correct.

26 Dated: June 28, 2024                                            /s/ Hunter Pyle
                                                             __________________________
27                                                                   Hunter Pyle

28
                                            1
      REQUEST FOR DISMISSAL WITH PREJUDICE OF ENTIRE ACTION AND RELATED STIPULATION
                                   PER FRCP 41(a)(1)(A)(ii)
